                  Case 19-50604-JKS              Doc 37      Filed 09/13/21         Page 1 of 2




                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

In re:                                                               Chapter 11

WOODBRIDGE GROUP OF COMPANIES, LLC,                                  Case No. 17-12560 (JKS)
et al.,1
                   Remaining Debtors.                                (Jointly Administered)

MICHAEL GOLDBERG, in his capacity as
Liquidating Trustee of the WOODBRIDGE
LIQUIDATION TRUST,
                                                                     Adversary Proceeding
                                    Plaintiff,                       Case No. 19-50604 (JKS)
                        vs.

PROVIDENT TRUST GROUP, LLC,
ADMINISTRATOR AND CUSTODIAN FOR THE
BENEFIT OF SHERYL A. WHITLOCK IRA;
SHERYL A. WHITLOCK,


                                    Defendants.



               STIPULATION REGARDING APPOINTMENT OF MEDIATOR

                  Pursuant to this Court’s January 6, 2021, scheduling order (the “Scheduling

Order”), plaintiff, Michael Goldberg, in his capacity as Liquidating Trustee of the Woodbridge

Liquidation Trust, and defendant Sheryl A. Whitlock, stipulate as follows:

                  1.         Ian Connor Bifferato, Esquire, of The Bifferato Firm, P.A shall be

appointed as the mediator (the “Mediator”) in this adversary proceeding.

                  2.         The mediation between the parties shall proceed in accordance with the

Scheduling Order and the deadlines set forth therein and shall be conducted in accordance with


1
  The Remaining Debtors and the last four digits of their respective federal tax identification numbers are as
follows: Woodbridge Group of Companies, LLC (3603) and Woodbridge Mortgage Investment Fund 1, LLC
(0172).


DOCS_DE:233547.1 94811/003
                  Case 19-50604-JKS    Doc 37      Filed 09/13/21   Page 2 of 2




the Local Rules of Bankruptcy Practice and Procedure of the United States Bankruptcy Court for

the District of Delaware and/or otherwise as may be agreed by the parties and the Mediator. The

parties will select a date for commencement of the mediation.


  STIPULATED AND AGREED:

  Dated: September 13, 2021

  PACHULSKI STANG ZIEHL & JONES LLP

  /s/ Colin R. Robinson                               /s/ Michael J. Joyce
  Bradford J. Sandler (DE Bar No. 4142)               Michael J. Joyce (No. 4563)
  Andrew W. Caine (CA Bar No. 110345)                 JOYCE, LLC
  Colin R. Robinson (DE Bar No. 5524)                 1225 King Street
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  Counsel to Plaintiff                                Counsel to Sheryl A. Whitlock




DOCS_DE:233547.1 94811/003                     2
